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                            UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA

IN RE:
                                               CASE NO: 18-03353-JW
TRAWNA NICHOLE MCFADDEN
                                               (CHAPTER 13)


                                                        OBJECTION TO PLAN FILED ON
                      Debtor                                   JULY 16, 2018


        The Chapter 13 Trustee hereby formally objects to the Debtor's plan, filed July 16, 2018,
and any other subsequently filed plans which do not meet the standards as indicated below . This
objection should be considered to supplement any previously stated and written informal
objection. Trustee objects on the grounds that the plan fails to meet the requirements of the code,
as follows:

       The Plan indicates Debtor's intent to pay her first mortgage payment directly to the
   creditor through a loan modification, and to pay the two subordinate mortgages directly to
   those creditors, but Schedule J shows no estimated payment amount and the budget does not
   evidence an ability to fund any mortgage payment.

      Based upon the Schedules filed and the terms of the Plan, the Debtor has not met her
   burden of proof to show that she "will be able to make all payments under the plan and to
   comply with the plan" pursuant to 11 U.S.C. §1325(a)(6).


    WHEREFORE, the Trustee prays that the Court deny confirmation of the plan.

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Dated: August 03, 2018                               /s/ James M. Wyman
                                                     James M. Wyman
                                                     Chapter 13 Trustee
                                                     PO Box 997
                                                     Mt. Pleasant, SC 29465-0997
                                                     Phone: (843) 388-9844
                                                     Fax: (843) 388-9877
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                                CERTIFICATE OF SERVICE

I did this date serve the attached document(s) on the parties listed below by placing the same in
the United States mail with proper postage affixed thereto and addressed as follows :
TRAWNA NICHOLE MCFADDEN                        DAVID C GAFFNEY
9226 SOUTHERN OAK LANE                         Gaffney Law Firm, P.A.
LADSON, SC 29456                               PO BOX 3966
                                               West Columbia, SC 29171




Dated: August 03, 2018                         /s/ Heather Crall
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